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                            United States District Court
                                      for the
                            Southern District of Florida

 Aligned Bayshore Holdings, LLC,        )
 Plaintiff,                             )
                                        )
 v.                                     ) Civil Action No. 18-21692-Civ-Scola
                                        )
 Westchester Surplus Lines              )
 Insurance Company, Defendant.          )
          Order Requiring Discovery And Scheduling Conference And
                 Order Referring Non-Dispositive Pretrial and
                 Discovery Matters To The Magistrate Judge
        This matter is before the Court upon an independent review of the record.
 It is ordered and adjudged as follows:
     1. The Plaintiff must forward a copy of this Order to every Defendant
 immediately upon the filing of a response to the complaint by a Defendant in this
 case. If a Defendant has removed this action from state court, the removing
 Defendant must immediately forward a copy of this Order to every party who has
 made an appearance in the state court action. Any party with a pending motion
 in the state-court action must separately refile the motion in this Court or the
 Court will not consider the motion.
     2. Within 21 days of the filing of a response to the complaint by a Defendant
 in this matter, the parties must meet and confer regarding discovery and
 scheduling issues, as set out in Federal Rule of Civil Procedure 26(f) and Local
 Rule 16.1(b). If this case was removed from state court, the parties’ discovery
 and scheduling conference must occur within 21 days of this Order.
     3. Within 14 days of the parties’ discovery-and-scheduling conference, the
 parties must file a joint-discovery-plan-and-conference report, as set forth in
 Federal Rule of Civil Procedure 26(f)(3) and Local Rule 16.1(b)(2).
     4. The parties are ordered to disregard the requirements of Local Rule
 16.1 and Federal Rule of Civil Procedure 26(f)(3)(B) regarding any proposed
 deadlines or dates certain. Instead, the parties are to direct their attention to
 the scheduling timelines set forth in Attachments “A” and “B” to this Order. The
 schedule set forth in Attachment “A” will be used if the parties believe the case is
 straight-forward and may benefit from an expedited scheduling track. In most
 other cases, the standard scheduling track in Attachment “B” will be used. The
 parties are therefore directed to advise the Court whether they would prefer to be
 assigned to the expedited (Attachment “A”) or to the standard (Attachment “B”)
 track. If the parties believe that they have good reason to depart from either of
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 these two tracks, or if the parties believe that this case is uniquely complex and
 requires significantly more time (as described in Local Rule 16.1(2)(C)), the
 parties must set out the reasons justifying a more protracted schedule along
 with a proposed schedule. Any such proposed schedule must be submitted in
 substantially the same format as the schedules presented in the Attachments to
 this Order with all proposed date or event deviations italicized. Regardless of any
 proposed changes, the dispositive motions deadline must be set no later than
 four months before the commencement of the proposed trial period and no
 sooner than two weeks after the close of all fact discovery. Any failure to
 comply with the directions in this paragraph may result in the Court
 unilaterally setting the deadlines itself.
     5. Magistrate Judge Referral. By virtue of 28 U.S.C. § 636 and the Magistrate
 Rules of the Local Rules of the Southern District of Florida, the Court refers all
 non-dispositive pretrial and discovery motions in this case to United States
 Magistrate Judge Edwin G. Torres to take all necessary and proper action as
 required by law, as well as any pretrial or post-trial motions related to attorneys’
 fees, costs, or sanctions.
     6. Settlement Conference Before Magistrate Judge. The parties may, at any
 time, file a motion requesting a settlement conference before Judge Torres. The
 Court encourages the parties to consider a confidential settlement conference
 with Judge Torres, especially if the parties believe there is a meaningful chance
 of reaching an early, amicable resolution of their dispute.
     7. Discovery Motion Procedures. Judge Torres will enter a separate order
 regarding his discovery procedures.
       Done and ordered at Miami, Florida, on May 21, 2018.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
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  Attachment “A”: Example Scheduling Timeline For Expedited Track Cases

 weeks after
 entry of the
 scheduling
    order
  4 weeks       Deadline to join additional parties or to amend pleadings.

                Deadline to file joint interim status report.
                Deadline to file Proposed Order Scheduling Mediation, setting forth
  9 weeks       the name of the mediator, and the date, time, and location of the
                mediation, consistent with the Order of Referral to Mediation (which
                immediately follows this scheduling order).

                Deadline to complete all fact discovery.
                Deadline to submit joint notice indicating whether the parties consent
                to jurisdiction before the designated magistrate judge for purposes of
                final disposition.
  14 weeks
                Deadline to exchange expert witness summaries/reports pursuant to
                Federal Rule of Civil Procedure 26(a)(2). Rebuttal disclosures are
                permitted, and must conform to the deadline set forth in Federal Rule
                of Civil Procedure 26(a)(2)(D)(ii).

  16 weeks      Deadline for the filing of all dispositive motions.

                Deadline to complete mediation, consistent with the Order of Referral
  18 weeks
                to Mediation (which immediately follows this scheduling order).

  21 weeks      Deadline to complete all expert discovery.
  8 weeks
                Deadline for the filing of pretrial motions, including motions in limine
  BEFORE
                and Daubert motions.
calendar call
  4 weeks       Deadline to file joint pretrial stipulation pursuant to Local Rule 16.1(e)
BEFORE the      and pretrial disclosures pursuant to Federal Rule of Civil Procedure
 trial date     26(a)(3).

  2 weeks       Deadline to file proposed jury instructions (if the matter is set for a
BEFORE the      jury trial) or proposed findings of fact and conclusions of law (if the
 trial date     matter is set for a bench trial) pursuant to Local Rule 16.1(k).
  33 weeks
                Two-week trial period commences (calendar call will be scheduled on
(approximate)
                the Tuesday before the trial period)
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  Attachment “B”: Example Scheduling Timeline For Standard Track Cases

  weeks after
  entry of the
  scheduling
     order
    5 weeks       Deadline to join additional parties or to amend pleadings.

   14 weeks       Deadline to file joint interim status report.

                  Deadline to file Proposed Order Scheduling Mediation, setting
                  forth the name of the mediator, and the date, time, and location
   25 weeks
                  of the mediation, consistent with the Order of Referral to
                  Mediation (which immediately follows this scheduling order).

                  Deadline to complete all fact discovery.
                  Deadline to submit joint notice indicating whether the parties
                  consent to jurisdiction before the designated magistrate judge for
                  purposes of final disposition.
   31 weeks
                  Deadline to exchange expert witness summaries/reports
                  pursuant to Federal Rule of Civil Procedure 26(a)(2). Rebuttal
                  disclosures are permitted, and must conform to the deadline set
                  forth in Federal Rule of Civil Procedure 26(a)(2)(D)(ii).

   33 weeks       Deadline for the filing of all dispositive motions.

                  Deadline to complete mediation, consistent with the Order of
   35 weeks       Referral to Mediation (which immediately follows this scheduling
                  order).

   40 weeks       Deadline to complete all expert discovery.
    8 weeks
                  Deadline for the filing of pretrial motions, including motions in
    BEFORE
                  limine and Daubert motions.
  calendar call
    4 weeks       Deadline to file joint pretrial stipulation pursuant to Local Rule
  BEFORE the      16.1(e) and pretrial disclosures pursuant to Federal Rule of Civil
   trial date     Procedure 26(a)(3).

    2 weeks       Deadline to file proposed jury instructions (if the matter is set for
  BEFORE the      a jury trial) or proposed findings of fact and conclusions of law (if
   trial date     the matter is set for a bench trial) pursuant to Local Rule 16.1(k).
   49 weeks
                  Two-week trial period commences (calendar call will be scheduled
 (approximate)
                  on the Tuesday before the trial period)
